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Morrell, Benjamin S.

From:                           Megan O'Malley <momalley@ompc-law.com>
Sent:                           Monday, May 22, 2023 6:45 PM
To:                             Morrell, Benjamin S.; Alex Raynor
Cc:                             Fisher, Ian H.
Subject:                        Re: Lynch v. CCC - amended privilege log

Follow Up Flag:                 Follow up
Flag Status:                    Flagged



Ben,

We revised one paragraph and one footnote. The other revisions were tense changes and the like. The only
reason we had to revise anything is because it took you nearly a month to give us an amended log (after the
initial log was already served belatedly, nearly 3 weeks after you were ordered to provide it). Had you
complied with the Court's deadline of March 31, we could have had a 37.2 conference about the log and those
entries the first week of April, but you didn't. You are the cause of the delay in getting this issue before the
Court.

Thursday is unacceptable. Judge Ellis is not hearing motions the entire month of June, and so it seems will
either be off the bench or tied up in a trial. We need to get this before her as she needs to still rule on the in
camera documents she has had since February, and she may also wish to review the entries from this new
motion in camera and will need to for that as well. We will not be jammed up by you in preparing for Janine
Janosky's deposition. It is already unacceptable that you are still withholding highly relevant documents in the
matter, which - as requested in my earlier email - we expect to be served no later than Friday. Why wasn't the
EL Nov1.docx document produced with your initial production back in 2021? This is a centrally relevant
document that didn't need an ESI search in order for you/your client to discover, as Ms. Panomitros and Ms.
Janosky are fully aware that they prepared these documents in their initial attempts to fire my clients. Frankly,
it seems that both Ms. Panomitros and Ms. Janosky are committing misconduct by not providing their counsel
with documents they know full well are centrally relevant to this matter. This is sanctionable conduct. Perhaps
it is Taft who is withholding the documents? We have been very gracious in providing you with the benefit of
the doubt, but your continued refusals of cooperation do not suggest that the continued revelations of
withheld documents were oversights by either you or your client.

The current motion we intend to file is not a complicated motion and you have known our core position since
April 26, which we put in writing (with legal authority) on April 27. Moreover, we have briefed this exact same
issue in the prior motion. Your continued delays are not acceptable.

We will file the motion as a Plaintiff's motion and note that we gave you the opportunity to participate.

Megan O'Malley
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542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
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From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Monday, May 22, 2023 6:23 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: RE: Lynch v. CCC - amended privilege log

Megan,

We agree that the parties are now at issue under Local Rule 37.2 regarding the revised list of privilege log
entries Alex sent to us earlier this afternoon. We also agree we will need to provide Defendant’s portion
of the joint brief. But, your proposed deadline of noon tomorrow is neither realistic nor fair.

At nearly the close of business on Friday afternoon, we first received a 9-page document containing
Plaintiffs’ side of the draft joint motion with your request that we provide Defendant’s portion of the brief
in less than two business days. And, we received a revised draft of Plaintiffs’ side of the motion just a
couple hours ago (in response to the amended privilege log we sent to you late Friday). It is unreasonable
to expect us to draft a response before the parties were fully at issue and while you were still revising
Plaintiffs’ draft of the motion. And, fair or not, we need more time to do so than the 21 hours you have
proposed.

We will plan to send over our portion of the joint motion on Thursday. We think this is a reasonable
amount of time to respond to Plaintiffs’ arguments.


From: Megan O'Malley <momalley@ompc-law.com>
Sent: Monday, May 22, 2023 2:44 PM
To: Alex Raynor <alex.raynor@ompc-law.com>; Morrell, Benjamin S. <BMorrell@taftlaw.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Attached is the updated version in both Word (clean) and a pdf version that shows the tracked changes for
your convenience. You will see that the very few substantive changes are almost entirely within one
paragraph and in the footnote on page 6. Please insert Defendant's response positions into this version.

Thank you,

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From: Alex Raynor <alex.raynor@ompc-law.com>
Sent: Monday, May 22, 2023 12:29 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Megan O'Malley <momalley@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Counsel,

Thank you for sending us your amended log. As this was sent after hours on Friday, we have just now had an
opportunity to review the entries we reference in our motion to compel. Based on your changes, we will agree
to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to send you updated language for
the background portion of our motion to account for this change. That said, we will continue to move on
Entries 95-98, 105, 107-110, 116, 123, and 183 as we do not believe these are privileged, even with your
amendments. Since there are no significant changes to the motion, we still expect to receive your portion by
noon tomorrow so that we can get this before the court as soon as possible.

Best,
Alex

From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Friday, May 19, 2023 6:11 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Lynch v. CCC - amended privilege log

Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


                 Benjamin S. Morrell
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